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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
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ROWVAUGHN WELLS,

       Plaintiff,

v.                                                          Case No. 2:23-cv-02224-MSN-atc
                                                            JURY DEMAND

THE CITY OF MEMPHIS, et al.,

      Defendants.
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                        ORDER TRANSFERRING CASE
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       The undersigned Court requests that this case be reassigned to the Honorable Judge Sheryl

H. Lipman. Accordingly, the Clerk is directed to reassign this case to Chief United States District

Judge Sheryl H. Lipman.

       IT IS SO ORDERED, this 26th day of June, 2025.

                                                     s/ Mark S. Norris
                                                     MARK S. NORRIS
                                                     UNITED STATES DISTRICT JUDGE
